       Case 1:15-cr-00233-DAD Document 76 Filed 02/18/16 Page 1 of 2


     JOHN F. GARLAND #117554
 1   Attorney at Law
     2950 Mariposa Street, Suite 130
 2   Fresno, California 93721
 3   Telephone: (559) 497-6132
 4   Attorney for Defendant,
     ALFONSO APU
 5
 6
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                 EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,                                 Case No. 1:15-CR-00233 DAD-BAM
10           Plaintiff,                                        STIPULATION AUTHORIZING
11                                                             OUT-OF DISTRICT TRAVEL
                    v.                                         AND ORDER THEREON
12   ALFONSO APU,
13          Defendant.
14
15
            Defendant, ALFONSO APU, by and through his counsel, John F. Garland and the
16
     United States of America, through its counsel, Benjamin B. Wagner, United States Attorney
17
18   and Patrick R. Delahunty, Assistant United States Attorney, hereby stipulate to authorize

19   ALFONSO APU to travel outside the Eastern District of California to Las Vegas, Nevada to
20   attend a business meeting from March 4, 2016 to March 6, 2016.
21
            The reasons for Mr. Apu's out-of-district travel are as follows:
22
     Alfonso Apu is the Director of Behavioral Health at Community Medical Centers, Inc. in
23
24   Stockton, CA. Mr. Apu is scheduled to make a presentation at the National Counsel of

25   Behavioral Health Trauma-Informed Primary Care Summit Meeting in Las Vegas, NV on
26   March 5-6, 2016. The Summit Meetings will be held at Caesar's Palace and Mr. Apu will stay
27
     at the Paris hotel. Mr. Apu has provided the Pretrial Services Office with his travel itinerary
28

     ___________________________________________________________________________________________________________________
       Case 1:15-cr-00233-DAD Document 76 Filed 02/18/16 Page 2 of 2


     and his supervising Pretrial Services Officer, Ryan Beckwith has no objection to Mr. Apu's
 1
     travel to Las Vegas, NV for business purposes.
 2
 3         The Order Setting Conditions of Release (Doc. 30), condition 7(c) restricts Mr. Apu's

 4   travel to the Eastern District of California, unless otherwise approved in advance by the PSO.
 5
     Because the travel is outside the Eastern District and the State of California, the parties agree it
 6
     is appropriate for the out-of-district travel to be authorized by the Court..
 7
     IT IS SO STIPULATED
 8
 9   Dated: February 17, 2016                                         /s/ John F. Garland
                                                                        John F. Garland
10                                                                  Attorney for Defendant
                                                                      Alfonso Apu
11
12   Dated: February 17, 2016                                     Benjamin B. Wagner
                                                                 United States Attorney
13
                                                                   /s/ Patrick R. Delahunty
14                                                            By: PATRICK R. DELAHUNTY
15                                                                Assistant U.S. Attorney

16                                                ORDER
17
18                     GOOD CAUSE APPEARING, based on the stipulation of the parties,

19   IT IS HEREBY ORDERED that defendant ALFONSO APU is authorized to travel to Las
20   Vegas, NV to attend a business meeting from March 4, 2016 to March 6, 2016.
21
         All other terms of the defendant’s pretrial release shall remain in effect.
22
23   IT IS SO ORDERED.
24
         Dated:      February 18, 2016                                  /s/ Barbara A. McAuliffe                     _
25
                                                                UNITED STATES MAGISTRATE JUDGE
26
27
28

     ___________________________________________________________________________________________________________________
